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6    Attorney for Defendant
     Benjamin Macias
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8                                UNITED STATES DISTRICT COURT
9                  IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   United States of America,                     )   Case No. Cr.S-15-125-GEB
                                                   )
12                 Plaintiff,                      )
                                                   )   MOTION TO FORMALLY WITHDRAW
13          vs.                                    )   APPLICATION FOR WRIT OF HABEAS
                                                   )   CORPUS AD TESTIFICANDUM FILED
14   Benjamin Macias,                              )   SEPTEMBER 25, 2018, DOCKET NO. 135
                                                   )
15                 Defendant                       )
                                                   )
16                                                 )   Judge: Hon. Garland E. Burrell, Jr.
                                                   )
17                                                 )
                                                   )
18                                                 )
                                                   )
19                                                 )
                                                   )
20                                                 )
                                                   )
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22                                Declaration of Jan David Karowsky
23          I, Jan David Karowsky, do hereby declare I am the attorney of record for the defendant in
24   the above-captioned action. On September 25, 2018, Docket Number 135, I filed an application
25   for the issuance of a Writ of Habeas Corpus Ad Testificandum for Sergio Moreno Ambriz,




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1    Register Number: 72563-097 to be produced as a witness for the defense at the trial in this
2    matter, on November 6, 2018.
3           Subsequently, I learned the government had also submitted a request to produce Sergio
4    Ambriz for trial. I was informed by the Court Clerk that two separate Writ applications for the
5    same person for the same trial could potentially cause confusion and possibly hinder the
6    production of Mr. Ambriz for trial.
7           Subsequently, I spoke to prosecuting AUSA Hemesath and agreed to move to withdraw
8    the defense application for said Writ. I sent an email to the Court Clerk and AUSA Hemesath on
9    October 1, 2018, confirming the conditions which the government had agreed to and upon which
10   I based my decision to move to withdraw the application for said Writ.
11          Therefore, I hereby move to formally withdraw said application for the Writ of Habeas
12   Corpus Ad Testificandum.
13          I declare under penalty of perjury the preceding is true and correct. This declaration was
14   executed on October 2, 2018 at Sacramento County, California
15                                                        /s/ Jan David Karowsky
16

17                                                        Respectfully submitted,
18   DATED: October 2, 2018                               JAN DAVID KAROWSKY
                                                          Attorney at Law
19                                                        A Professional Corporation
20
                                                          /s/ Jan David Karowsky
21
                                                  by
22                                                        JAN DAVID KAROWSKY
                                                          Attorney for Defendant
23                                                        Benjamin Macias

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1
                                               ORDER
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           Based on the above declaration, the said application for said Writ has been withdrawn.
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     Dated: October 2, 2018
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